EXHIBIT 1
From: Jenkins, Robin E (Legal Affairs) <rjenkins22@liberty.edu>
Sent: Thursday, April 6, 2023 9:53 AM
To: Eckstein, Maya <meckstein@hunton.com>
Cc: King, Jeremy <JKing@hunton.com>; Shipman, Joseph C (Legal Affairs) <jcshipman@liberty.edu>
Subject: RE: [External] RE: Dropbox

Caution: This email originated from outside of the firm.
Ms. Eckstein,

Good morning.

We have just uploaded to the Dropbox link below 90 communications/documents that Liberty
previously produced in the related state case (CL22000186‐00) with the exception of one email with
Caleb Mast which may be subject to the Motion to Quash filed by Mr. Melvin Williams, attorney for
Caleb Mast. This production was the result of a search of Joshua Mast and Jonathan Mast’s Liberty email
accounts from September 1, 2019 to September 26, 2022 containing any of the following terms: (1)
“Rafia Amin”, (2) “Lillian Isabella Mast”, (3) “Baby L”, (4) “Baby Lilly”, (5) “Fawzia Amin”, (6) “Aminullah
Amin”, (7) “Osmani.” This production excludes emails between Joshua and Stephanie Mast and the
following email accounts pursuant to an agreement between Joshua and Stephanie Mast and the
plaintiff in that case: RMast@lc.org; RLMast@liberty.edu; RLMast@protonmail.com;
richard.l.mast.jr@gmail.com; hwbradburn@liberty.edu; dschmid@lc.org; daniel@lc.org, Mat@lc.org;
MStaver@lc.org; Jona@lc.org; JAlexandre@lc.org; rachel@poarchlaw.com; Mary@lc.org;
MMcAlister@childparentrights.org; tnoonan1@liberty.edu; rlindevaldsen@liberty.edu; rena@lc.org;
cynthianolandunbar@gmail.com; cynthia@globaleducationadventures.com;
cynthia@globaleducationalventures.com and cdunbar_GEV@liberty.edu; and
hannonwright@gmail.com. A search of Stephanie Mast’s Liberty email account of the same terms and
exclusions returned no hits. We believe these records are at least partially responsive to Requests (1) –
(6) of your Subpoena.

On our call, we informed you that our initial search of all Liberty email accounts returned over 5,000
results. It turns out that that search yielded over 4,000 results using the same search parameters that
were used in searching Joshua and Stephanie Mast’s email accounts. Please let us know of any limiters
that you believe will limit our search results to a more reasonable number.

Thank you.

From: Eckstein, Maya <meckstein@hunton.com>
Sent: Tuesday, March 28, 2023 11:46 AM
To: Shipman, Joseph C (Legal Affairs) <jcshipman@liberty.edu>
Cc: King, Jeremy <JKing@hunton.com>; Jenkins, Robin E (Legal Affairs) <rjenkins22@liberty.edu>
Subject: [External] RE: Dropbox

   You don't often get email from meckstein@hunton.com. Learn why this is important


[ EXTERNAL EMAIL: Do not click any links or open attachments unless you know the sender
and trust the content. ]
You should be able to upload documents here: https://hunton.egnyte.com/ul/sekEljsdCp

Let me know if it doesn’t work for some reason.

Maya

From: Shipman, Joseph C (Legal Affairs) <jcshipman@liberty.edu>
Sent: Tuesday, March 28, 2023 11:05 AM
To: Eckstein, Maya <meckstein@hunton.com>
Cc: King, Jeremy <JKing@hunton.com>; Jenkins, Robin E (Legal Affairs) <rjenkins22@liberty.edu>
Subject: Dropbox

Caution: This email originated from outside of the firm.
Maya:

Do you have a share file site to which we can upload the records we discussed yesterday
afternoon? Will save us from having to mail a USB.

Thanks,

Court

J. Court Shipman
Senior Counsel
Office of Legal Affairs

(434) 592-3310 (office)
(434) 215-9157 (mobile)




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